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          EXHIBIT 12
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                             IN THE UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF TENNESSEE
                                       EASTERN DIVISION

    CONSOLIDATED INDUSTRIES, LLC                          )
    d/b/a WEATHER KING PORTABLE                           )
    BUILDINGS,                                            )
                                                          )
               Plaintiff,                                 )
                                                          )   Civil Action No. l:22-cv-01230
    v.                                                    )
                                                          )
    JESSE A. MAUPIN, BARRY D.                             )
    HARRELL, ADRIAN S. HARROD,                            )
    LOGAN C. FEAGIN, STEPHANIE L.                         )
    GILLESPIE, RYAN E. BROWN,                             )
    DANIEL J. HERSHBERGER, BRIAN                          )
    L. LASSEN, ALEYNA LASSEN, and                         )
    AMERICAN BARN CO., LLC,                               )
                                                          )
               Defendants.                                )




         JESSE A. MAUPIN'S FIRST SUPPLEMENTAL RESPONSES TO PLAINTIFF’S
                          FIRST SET OF INTERROGATORIES

           Jesse A. Maupin by and through his attorneys, states the following First Supplemental

   Responses Plaintiffs First Set of Interrogatories.

                                         INTERROGATORIES

           3.        Identify each communication you have had with any person or entity (other than

  confidential communications solely with your legal counsel, your spouse, or your accountant)

  between January 1,2021, and through the day of the termination of your employment with Weather

  King (including but not limited to communications with lenders or potential lenders, investors or

  potential investors, business partners or potential business partners, Weather King employees,

  Weather King contractors, Weather King dealers, Weather King builders, Weather King drivers,

  other Weather King business partners, rental companies, and Weather King customers) relating to

  70402379;!
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   the creation/formation or potential creation/formation of, funding or potential funding of, and/or

   operation or potential operation of any business enterprise in the Portable Buildings Industry (other

   than Weather King) and, with respect to each such communication, identify: (a) the substance of

   the communication; (b) all parties to the communication; (c) the date of the communication; and

   (d) the mode of the communication (i.e., telephonic conversation, email, text message, etc.).

           SUPPLEMENTAL RESPONSE:

           Subject to and without waiving his previous objections, and incorporating his previous

   responses, Maupin states that he had verbal conversations with Troy Buttrey of First Bank

   regarding a loan to assist with the formation of ABCO Rentals. He does not recall the dates of the

   conversations.



          4.        Identify each communication you had between January 1, 2021, and through the

   day of the termination of your employment with Weather King with any person then-employed by

   Weather King relating to that person’s potential departure from Weather King and/or your

  potential departure from Weather King and, with respect to each such communication: (a) describe

   in detail the substance of the communication; (b) identify all parties to the communication; (c)

   identify the date of the communication; and (d) identify the mode of the communication (i.e.,

  telephonic conversation, email, text message, etc.).

          SUPPLEMENTAL RESPONSE:

          Subject to and without waiving his previous objections, and incorporating his previous

  responses, Maupin states although I don't recall the dates, I spoke with all of the listed defendants

  regarding the formation of ABCO.



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  70402379;!
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            5.    Identify each communication you had between January 1, 2021, and the day of the

   termination of your employment from Weather King with any person or entity who, at the time of

   the communication, was a Weather King dealer, driver, customer, lender, landlord, rental

   company, or other business partner relating to your potential departure from Weather King and,

   with respect to each such communication: (a) describe in detail the substance of the

   communication; (b) identify all parties to the communication; (c) identify the date of the

   communication; and (d) identify the mode of the communication (i.e., telephonic conversation,

   email, text message, etc.).

           SUPPLEMENTAL RESPONSE:

           Subject to and without waiving his previous objections, and incorporating his previous

   responses, Maupin states that he had conversations with various dealers and drivers about his

   departure from Weather King verbally and that the does not recall the dates of such conversations.



    Date: May 10, 2023                                      /s/ Thomas G. Pasternak
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                                                            Attorneys for Defendant,
                                                            Jesse A. Maupin




   70402379;!
